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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


                                                    )
ANNA LANGE,                                         )
                                                    )
                                Plaintiff,          )
                                                    )
       v.                                           )
                                                         Civil Action No. 5:19-CV-00392-MTT
                                                    )
HOUSTON COUNTY, GEORGIA, et al.,                    )
                                                    )
                                Defendants.         )
                                                    )
                                                    )
                                                    )


                                  PLAINTIFF’S TRIAL BRIEF

               COMES NOW Plaintiff Sgt. Anna Lange, by and through the undersigned counsel,

and respectfully files her Trial Brief in the above-captioned action, showing the Court as follows:


                                        INTRODUCTION

               In its June 2, 2022 Order on the parties’ summary judgment motions, this Court

held that Sgt. Lange established as a matter of law that the Exclusion (as defined in the Order) is

facially discriminatory in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

et seq. (“Title VII”), and that Houston County (“the County”) is an “agent” for purposes of Title

VII. See ECF No. 205 (“Order”) at 12, 28. In its August 11, 2022 order, the Court set this matter

for trial with respect to damages on Sgt. Lange’s Title VII claim. ECF 217. Sgt. Lange respectfully

submits this brief to set forth the relief she seeks for Defendants’ violation of Title VII.
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                                           ARGUMENT

  I.   TITLE VII RELIEF

               The overriding purpose of Title VII is to make persons whole for injuries suffered

on account of unlawful employment discrimination. See Albemarle Paper Co. v. Moody, 422 U.S.

405, 418 (1975); Tompkins v. Darr, No. 4:11-CV-93 CDL, 2013 WL 6198209, at *3 (M.D. Ga.

Nov. 27, 2013) (“The basic purpose of equitable relief under Title VII is to make the employee

whole—to restore the employee to the position the employee would have occupied had she not

been the victim of unlawful discrimination.”). To achieve this goal, Congress enacted statutes

providing plaintiffs who have been discriminated against under Title VII with a wide range of

remedies. See 42 U.S.C. § 2000e–5(g) (outlining available equitable relief, including injunctive

relief and any other relief the court deems appropriate); 42 U.S.C. § 1981a (outlining compensatory

and punitive damages available for cases of intentional discrimination under Title VII in addition

to equitable relief provided by 42 U.S.C. § 2000e–5(g)).

               Here, Sgt. Lange seeks to be made whole by an award of compensatory damages

in an amount to be determined at trial by the jury. Additionally, Sgt. Lange seeks the following

relief to be determined by the Court following trial: (1) reimbursement for out-of-pocket expenses

arising from the healthcare that she was unlawfully denied; (2) injunctive relief; (3) attorneys’ fees,

costs, and expenses; and (4) pre-judgment and post-judgment interest.

           A. Compensatory Damage s

               As a victim of intentional discrimination prohibited by Title VII, Sgt. Lange is

entitled to recover compensatory damages for the mental and emotional suffering that she

experienced as a result of the unlawful Exclusion.        It is well established that compensatory

damages are available under Title VII for “emotional pain, suffering, inconvenience, mental

anguish, loss of enjoyment of life, and other non-pecuniary losses.” 42 U.S.C. § 1981a(b)(3).

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“Other non-pecuniary losses” include damages for humiliation. See Ferrill v. The Parker Grp.,

Inc., 168 F.3d 468, 476 (11th Cir. 1999) (“Humiliation and insult are recognized, recoverable

harms.”); Stallworth v. Shuler, 777 F.2d 1431, 1435 (11th Cir. 1985) (“The injury in civil rights

cases may be intangible . . . . It need not be financial or physical but may include damages for

humiliation and emotional distress.”).

               To recover compensatory damages for emotional distress, a plaintiff must prove

actual injury (Carey v. Piphus, 435 U.S. 247, 263–64 (1978)); however, damages for such injuries

“need not be proven with a high degree of specificity” and “may be inferred from the

circumstances.” Ferrill, 168 F.3d at 476. See also Marable v. Walker, 704 F.2d 1219, 1220–21

(11th Cir. 1983) (“That the amount of damages is incapable of exact measurement does not bar

recovery for the harm suffered.”). A plaintiff need not prove their emotional distress through

medical evidence. See Bogle v. McClure, 332 F.3d 1347, 1359 (11th Cir. 2003) (upholding award

of compensatory damages for emotional pain and suffering sustained by plaintiffs as result of their

race-based transfers to less prestigious places of work, based on their testimony that the transfers

“upset,” “embarrassed,” “humiliated,” and “ashamed” them, without presenting independent

medical evidence of mental or physical harm). Rather, a plaintiff’s own testimony is sufficient to

support an award of compensatory damages for emotional distress. See Stallworth, 777 F.2d at

1435 (affirming $100,000 compensatory damages award based on plaintiff’s testimony that he

suffered emotional stress, loss of sleep, marital strain and humiliation because of violation of his

civil rights); Marable, 704 F.2d at 1220 (holding that plaintiff’s own testimony that he was

embarrassed and humiliated by defendant's conduct was sufficient to support compensatory

damages award).




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               Here, Sgt. Lange seeks compensatory damages for the emotional distress, mental

anguish, humiliation, inconvenience, and loss of enjoyment of life that she endured as a result of

being denied medically necessary health care in violation of Title VII.

           B. Reimbursement for Out-of-Pocket Expenses

               Sgt. Lange is entitled to reimbursement for the out-of-pocket expenses she incurred

as a result of Defendants’ unlawful Exclusion. To effectuate the “make whole” objective of Title

VII, Congress “vested broad equitable discretion in the federal courts to ‘order such affirmative

action as may be appropriate, which may include, but is not limited to, reinstatement or hiring of

employees, with or without back pay . . . , or any other equitable relief as the court deems

appropriate.’” Franks v. Bowman Transp. Co., 424 U.S. 747, 763 (1976) (quoting 42 U.S.C. §

2000e–5(g)(1) (emphasis added)). See also Rivers v. Wash. Cnty. Bd. of Educ., 770 F.2d 1010,

1012 (11th Cir. 1985) (per curiam) (“The district court has broad, equitable discretion to grant any

equitable relief it deems appropriate to make persons whole for injuries suffered on account of

unlawful employment discrimination.”).

               Courts have exercised their equitable powers under 42 U.S.C. § 2000e–5(g)(1) to

award victims of unlawful employment discrimination damages for their actual out-of-pocket

expenses. See, e.g., Gammon v. Precision Eng’g Co., Civ. No. 4–85–1217, 1987 WL 16127 (D.

Minn. 1987) (awarding plaintiff compensatory damages for her out-of-pocket medical expenses

pursuant to the court’s power under 42 U.S.C. § 2000e–5(g) to order such equitable relief as it

deems appropriate); EEOC v. Service News Co., 898 F.2d 958 (4th Cir. 1990) (court awarded

unreimbursed medical expenses, which resulted from plaintiff's loss of health insurance after she

was discriminatorily discharged). “Once a defendant is found liable for the plaintiff's injury, the

District Court has a great deal of discretion in deciding the level of damages to be awarded.”

Ferrill, 168 F.3d at 476 (citation omitted).

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               Out-of-pocket expenses are not subject to Title VII’s statutory damages cap. See

42 U.S.C. § 1981a(b)(2)-(3) (relief authorized under 42 U.S.C. § 2000e–5(g) is excluded from

compensatory damages awarded under § 1981a and only compensatory damages for future

pecuniary relief under § 1981a are subject to the damages cap). See also Schroer v. Billington,

Civil Action No. 05–1090 (JR), 2009 WL 1543686 (D.D.C. Apr. 28, 2009) (awarding transgender

plaintiff past pecuniary losses for therapy sessions and two dental procedures and stating that such

losses are not included in the statutory caps).

               Here, Sgt. Lange incurred out of pocket expenses over approximately $10,000 that

she would not have incurred but for Defendants’ unlawful Exclusion. The Court should thus award

Sgt. Lange these out-of-pocket costs pursuant to its authority under 42 U.S.C. § 2000e-5(g)(1) to

grant “any other equitable relief as the court deems appropriate.” See Tompkins, 2013 WL

6198209, at *2 (“It is also clear that for [Title VII] violations, an employee may recover

compensatory damages and equitable relief. It is the jury's role to determine whether illegal

discriminatory conduct occurred and whether an employee should recover compensatory damages.

It is the judge's role to determine whether equitable relief is appropriate. Equitable relief may be

appropriate even if a jury does not award compensatory damages.”) (citations omitted); McCue v.

State of Kan., Dep't of Hum. Res., 165 F.3d 784, 792 (10th Cir. 1999) (“Damages awarded under

section 2000e–5(g) are equitable relief to be determined by the court, while damages awarded

under section 1981a are legal damages that may be submitted to a jury.”).

           C. Attorneys’ Fees and Expenses

               Prevailing plaintiffs in Title VII actions may recover their reasonable attorneys’

fees and related expenses. See 42 U.S.C. § 2000e-5(k); FED. R. CIV. P. 54(d). See also Royal Palm

Props., LLC v. Pink Palm Props., LLC, 38 F.4th 1372, 1376 (11th Cir. 2022) (“[T]here are two

requirements for a party to reach prevailing party status. First, the party must be awarded some

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relief on the merits of its claim by the court. Second, the party must be able to point to a resolution

of the dispute which materially altered the legal relationship between the parties.” (citations

omitted)). However, the attorneys’ fee award is an issue for the court, not the jury. Accordingly,

should Sgt. Lange be awarded relief on her Title VII claim by the Court or jury, she intends to file

a post-trial motion seeking such relief in accordance with the Federal Rules of Civil Procedures

and Local Rules.

           D. Pre- and Post-Judgment Interest

               Sgt. Lange is entitled to pre-judgment interest on her out-of-pocket expenses.

Generally, federal courts have discretion to award pre-judgment interest to a plaintiff who has

suffered harm as a result of a violation of their civil rights. See West Virginia v. United States, 479

US 305, 310 (1987) (prejudgment interest is “an element of complete compensation”).               Pre-

judgment interest is necessary to make victims of discrimination fully whole and compensate them

for the true cost of money damages they incurred. Id. 310, n. 2; EEOC v. Atlanta Gas Light Co.,

No. C81-1090A, 1983 WL 606, at *1 (N.D. Ga. Dec. 15, 1983), aff'd, 751 F.2d 1188 (11th Cir.

1985) (“Because a primary purpose of the remedial provisions of Title VII is to make whole the

victims of unlawful discrimination . . . , the court concludes that prejudgment interest is appropriate

in order to fully compensate those employees entitled to reimbursement[.]”); Chung, Yong Il v.

Overseas Navigation Co., Ltd., 774 F.2d 1043, 1057 (11th Cir. 1985) (explaining that an award of

prejudgment interest is not a penalty; it compensates plaintiff for the use of his funds).

               Sgt. Lange is also entitled to post-judgment interest on any damages award. Under

28 U.S.C. § 1961, a prevailing party in civil litigation is entitled to interest “on any money

judgment in a civil case recovered in a district court.” This interest is meant “to compensate the

successful plaintiff for being deprived of compensation.” Kaiser Aluminum & Chem. Corp. v.

Bonjorno, 494 U.S. 827, 835 (1990) (citation omitted). See also FIGA v. R.V.M.P. Corp., 874

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F.2d 1528, 1533 (11th Cir. 1989) (stating that “post-judgment interest serves to reimburse the

claimant for not having received the money in hand on that day”). Post-judgment interest is

calculated from the date of entry of judgment in the action. See 28 U.S.C. § 1961. Sgt. Lange is

thus entitled to post-judgment interest on any damages award she received, calculated from the

date of the Court’s final judgment until the time her damages are paid in full.

           E. Injunctive Relief

              Under Title VII, 42 U.S.C. § 2000e-5(g), a court may enjoin a defendant from

engaging in an unlawful employment practice where the court has found that the defendant

intentionally engaged in that practice. See, e.g., Boyden v. Conlin, ECF 240, No. 17-CV-264-

WMC (W.D. Wis. Sept. 24, 2018) (final judgment awarding compensatory damages as determined

by jury and permanently enjoining defendants from enforcing an exclusion that violates Title VII

by excluding coverage for gender reassignment-related care). See also Flack v. Wis. Dep't of

Health Servs., ECF 249, Case No. 18-cv-309-wmc (W.D. Wis. Oct. 31, 2019) (final judgment

permanently enjoining defendants from enforcing an exclusion that violated federal laws by

excluding coverage for gender-confirming surgery and related hormones).

              Here, Sgt. Lange continues to seek entry of a permanent injunction enjoinin g

Defendants’ further enforcement of the Exclusion, including ordering Defendants to provide any

direction to Anthem necessary to ensure that this change is effectively implemented and that Sgt.

Lange’s medically necessary care is covered. See ECF 140–1 at 38-39. Such relief would remain

available to Sgt. Lange even if the jury does not award her any compensatory damages. See

Tompkins, 2013 WL 6198209 at *2 (“Equitable relief may be appropriate even if a jury does not

award compensatory damages.”). Therefore, Sgt. Lange’s request for permanent injunctive relief

is for the Court to determine following the jury’s verdict.



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               Respectfully submitted this 1st day of September, 2022.


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                                CERTIFICATE OF SERVICE

               This is to certify that I have this day served the foregoing PLAINTIFF’S TRIAL

BRIEF to the Clerk of Court using the CM/ECF system, which will automatically send electronic

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       This 1st day of September, 2022.



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